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THE UNITED STATES DISTRICT COURT MAR 1 7 N»-
FOR THE N()RTHERN DISTRICT OF ILLINOIS 2085 l-
EASTERN DIVISION

LAWRENCE L. JACKSON

Plaintit`f,
Case No. 04C 7021
vs.
Judge Wayne R. Andersen
MICHAEL F. SHEAHAN, Sheriff;
COUNTY OF COOK, Illinois;
CALLIE L. BAIR]); and
RASHANDA CARROLL,

WVVVWWVVWV\v/W

Defendants.

MOTION TO WITIIDRAW

Pro~Se plaintiff, Lawrence L. Jaclcson, voluntarily request to have the above referenced
lawsuit Withdrawn.

on, Pro-se itigant

 

Chicago, ll|inois 60649
("!73) 375-6846

 

 

 

 

